                IN THE UNITED STATES BANKRUPTCY COURT
            NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

In Re:                                           )
John R. Williams                                 )
SSN: xxx-xx-8227                                 )             Bankruptcy Case No.
Carlyn Williams                                  )
SSN: xxx-xx-7588                                 )                19-40650-JJR-7
95 Moss Hill Lane                                )
                                                 )                   Chapter 7
Pell City, AL 35128                              )
                                                 )
                             Debtors,            )

Rocco J. Leo, as Trustee of the                  )
Bankruptcy Estate of John R. Williams            )
And Carlyn R. Williams,                          )
                                                 )          Adversary Proceeding No.:
                             Plaintiff,          )
                                                 )                 20-40006-JJR
                                                 )
Capstar Bank fka American Security               )
Bank and Trust, Trustmark National Bank          )
and Jeffrey R. Williams,                         )
                                                 )
                             Defendants.         )
                                                 )

                                            ANSWER

      COMES NOW, Jeffrey R. Williams, by and through his attorney and states the following:

      1.     Jeffrey R. Williams has an undivided one-third interest in the property located at
   119 Tara Lane, Goodlettsville, TN 37072.

                                            /s/ Erskine R. Funderburg, Jr.____________
                                            Erskine R. Funderburg, Jr. (ASB-4050-D67E)
                                            Attorney for Defendant, Jeffrey R. Williams

OF COUNSEL:
TRUSSELL, FUNDERBURG, REA , BELL, & FURGERSON, P.C.
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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 21st    day of February, 2020, I electronically filed the
foregoing with the Clerk of the Court using the CM/EMF system, which will send notification of
such filing to the following:

C. Taylor Crockett                              Max C. Pope, Jr.
2067 Columbiana Road                            P.O. Box 2958
Birmingham, Alabama 35216                       Birmingham, AL 35202
taylor@taylorcrockett.com                       max@maxpopejr.com

and I hereby certify that I have mailed by United States Postal Service the document to the
following non-CM?EMF system participants:

Capstar Bank                                    Trustmark National Bank
c/o Timothy K. Schools                          c/o Gilbert L. Fontenot
President and Chief Executive Office            P.O. Box 1281
P.O. Box 305065                                 Mobile, Alabama 36633-1281
Nashville, Tennessee 37230-5065
                                                Trustmark National Bank
Capstar Bank                                    7522 Front Beach Road
c/o Tom Lawless                                 Panama City Beach, Florida 32407
Lawless & Associates, P.C.
701 Broadway Customs House Suite 403            Trustmark National Bank
Nashville, Tennessee 37203                      P.O. Box 291
                                                Jackson, Mississippi 39205
Trustmark National Bank
c/o Gerald R. Host                              CT Corporation System, as Registered Agent
President, Chief Executive Officer &Director    of Trustmark National Bank
248 East Capitol Street                         2 North Jackson Street, Suite 605
Jackson, Mississippi 39201                      Montgomery, Alabama 36104

Trustmark National Bank
c/o Duane A. Dewey
Chief Operating Officer & Director
248 East Capitol Street
Jackson, Mississippi 39201
                                           Respectfully submitted,

                                           /s/ Erskine R. Funderburg, Jr.
                                           Erskine R. Funderburg, Jr. (ASB-4050-D67E)
                                           1905 First Avenue South
                                           Pell City, Alabama 35125
                                           Phone: 205-338-7273
                                           Fax: 205-338-6094
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